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 10
    Attorneys for Plaintiff,
 11 Jeff Buchanan
 12                          UNITED STATES DISTRICT COURT
 13                           CENTRAL DISTRICT OF CALIFORNIA
 14                                 SANTA ANA DIVSION
 15
 16
 17 Jeff Buchanan,                            Case No.: 8:19-cv-01063-DOC-KES

 18                                           STIPULATION OF DISMISSAL
                       Plaintiff,
 19
            vs.
 20
      Capital One Bank (USA) N.A.,
 21
 22                    Defendant.
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      8:19-cv-01063-DOC-KES                                  STIPULATION OF DISMISSAL
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  1                                STIPULATION OF DISMISSAL
  2
             The parties to the above-entitled action, pursuant to FRCP 41(a)(1)(ii), hereby
  3
      stipulate that the above-captioned action is hereby dismissed in its entirety with
  4
      prejudice and with each side to bear its own attorneys’ fees and costs.
  5
  6
  7
       Plaintiff                              Defendant
  8
       __/s/ Trinette G. Kent                 __/s/ Marcos D. Sasso
  9
       TRINETTE G. KENT                       MARCOS D. SASSO
 10    Attorney for Plaintiff                 Attorney for Defendant
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      8:19-cv-01063-DOC-KES                    -2-                    STIPULATION OF DISMISSAL
